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                                                                   8
                                                                   9   Attorneys for Defendant DUNCAN D. HUNTER

                                                                  10                           UNITED STATES DISTRICT COURT
                                                                  11                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                  12                                    (Hon. Thomas J. Whelan)
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   UNITED STATES OF AMERICA,                      Case No. 18-CR-3677-W
                                    750 B STREET, SUITE 2100




                                                                  14                                                  MEMORANDUM OF POINTS AND
                                                                                           Plaintiff,
                                                                  15                                                  AUTHORITIES IN SUPPORT OF
                                                                                    v.                                MOTION TO DISMISS COUNTS
                                                                  16                                                  TWO, THREE, AND FORTY-FIVE OF
                                                                  17   DUNCAN D. HUNTER,                              THE INDICTMENT FOR VIOLATION
                                                                                                                      OF THE STATUTE OF
                                                                  18                                                  LIMITATIONS
                                                                                           Defendant.
                                                                  19                                                  DATE:            July 1, 2019
                                                                  20                                                  TIME:            10:00 a.m.
                                                                                                                      COURTROOM:        3C
                                                                  21                                                  JUDGE:            Hon. Thomas J. Whelan
                                                                  22
                                                                  23         Defendant DUNCAN D. HUNTER (“Hunter”), by and through his attorneys,
                                                                  24   Gregory A. Vega, Ricardo Arias, and Philip B. Adams, pursuant to Federal Rules of
                                                                  25   Criminal Procedure 12(b), respectfully moves this Court to dismiss Counts Two, Three
                                                                  26   and Forty-Five of the indictment because the conduct underlying these Counts occurred
                                                                  27   outside the five-year statute of limitations period applicable to the charged offenses and
                                                                  28   no justification for extending the limitations period exists.

                                                                       POINTS & AUTHORITIES RE DISMISS COUNTS                          Case No. 18-CR-3677-W
                                                                       TWO, THREE AND FORTY-FIVE OF INDICTMENT
                                                                   1                             I.    FACTUAL BACKGROUND
                                                                   2         The indictment against Hunter was returned on August 21, 2018, and it contains
                                                                   3   the following counts subject to this motion to dismiss:
                                                                   4          Count Two of the indictment alleges Hunter committed wire fraud in violation
                                                                   5            of 18 U.S.C. §§ 1343 & 2 based on conduct occurring on April 20, 2013.
                                                                   6          Count Three of the indictment alleges Hunter committed wire fraud in
                                                                   7            violation of 18 U.S.C. §§ 1343 & 2 based on conduct occurring on April 22,
                                                                   8            2013.
                                                                   9          Count Forty-Five of the indictment alleges Hunter falsified records related to
                                                                  10            campaign finance in violation of 18 U.S.C. §§ 1519 & 2 based on conduct
                                                                  11            occurring on July 15, 2013.
                                                                  12                                      II.   ANALYSIS
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                                                                  13         Counts Two, Three and Forty-Five should be dismissed as time barred because
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                                                                  14   the alleged offenses occurred more than five years before the date of the indictment.
                                                                  15   A.    Counts Two, Three, and Forty-Five are Subject to the Five-Year Statute of
                                                                             Limitations Period Established by 18 U.S.C. § 3282(a).
                                                                  16
                                                                  17         18 U.S.C. § 3282 provides “[e]xcept as otherwise expressly provided by law, no
                                                                  18   person shall be prosecuted, tried, or punished for any offense, not capital, unless the
                                                                  19   indictment is found or the information is instituted within five years next after such
                                                                  20   offense shall have been committed.” 18 U.S.C. § 3282(a). This statute establishes a
                                                                  21   default statute of limitations period governing all non-capital violations of federal law
                                                                  22   and applies to charges of wire fraud and charges based on falsification of records related
                                                                  23   to campaign finance. See id.; United States v. Mullins, 613 F.3d 1273, 1278 (10th Cir.
                                                                  24   2010) (the default five-year statute of limitations period provided by 18 U.S.C. § 3282
                                                                  25   “applies to wire fraud charges”). Similarly, 52 U.S.C. § 30145(a) states “[n]o person
                                                                  26   shall be prosecuted, tried, or punished for any violation of subchapter I of this chapter,
                                                                  27   unless the indictment is found or the information is instituted within 5 years after the
                                                                  28
                                                                                                        2
                                                                       POINTS & AUTHORITIES RE DISMISS COUNTS TWO,                     Case No. 18-CR-3677-W
                                                                       THREE AND FORTY-FIVE OF INDICTMENT
                                                                   1   date of the violation.” 52 U.S.C.A. § 30145(a). This statute establishes a five-year
                                                                   2   statute of limitations period for any violation of 52 U.S.C. § 30101 et seq, which relate
                                                                   3   to the disclosure of federal campaign funds. See id.
                                                                   4   B.    The Court Should Dismiss Counts Two, Three, and Forty-Five Because the
                                                                             Government Did Not Obtain the Indictment Until After the Five-Year
                                                                   5         Limitations Period Expired with Respect to Those Counts.
                                                                   6         The government obtained the indictment against Hunter on August 21, 2018. Five
                                                                   7   years prior to August 21, 2018 is August 21, 2013. Charges of wire fraud and
                                                                   8   falsification of records related to campaign finance are non-capital offenses subject to
                                                                   9   the five-year statute of limitations period established by 18 U.S.C. § 3282. See 18
                                                                  10   U.S.C. § 3282(a). Counts Two and Three of the indictment charge Hunter with wire
                                                                  11   fraud based on conduct that occurred before August 21, 2013 (on April 20, 2013 and
                                                                  12   April 22, 2013 respectively). Similarly, Count Forty-Five of the indictment charges
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                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   Hunter with falsification of records related to campaign finance based on conduct that
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                                                                  14   occurred before August 21, 2013 (on July 15, 2013). Thus, Counts Two, Three and
                                                                  15   Forty-Five are all based on conduct outside the five-year limitations period and should
                                                                  16   be dismissed as time barred.
                                                                  17                                    III.      CONCLUSION
                                                                  18         For the aforementioned reasons, this Court should dismiss Counts Two, Three,
                                                                  19   and Forty-Five of the indictment because they are all based on conduct that occurred
                                                                  20   outside of the the five-year statute of limitations period and no justification for
                                                                  21   extending the limitations period exists.
                                                                  22                                           Respectfully submitted,
                                                                                                               SELTZER CAPLAN McMAHON VITEK
                                                                  23   Dated: June 24, 2019                    A Law Corporation
                                                                  24
                                                                  25                                           By:
                                                                                                        s/ Gregory A. Vega
                                                                  26                                    Gregory A. Vega
                                                                                                        Philip B. Adams
                                                                  27                                    Ricardo Arias
                                                                  28                              Attorneys for Defendant, DUNCAN D. HUNTER
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                                                                       POINTS & AUTHORITIES RE DISMISS COUNTS TWO, Case No. 18-CR-3677-W
                                                                       THREE AND FORTY-FIVE OF INDICTMENT
